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                          EXHIBIT 4
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA




---------------------------------------------------------------)
                                                               )
STATE OF SOUTH CAROLINA                                        )
                                                               )
         Plaintiff,                                            ) CIVIL ACTION NO:
                                                               )
                           v.                                  ) 1:12-CV-203-CKK-BMK-JDB
                                                               )
THE UNITED STATES OF AMERICA                                   ) (Three Judge Court)
And ERIC H. HOLDER, JR. in his                                 )
Official capacity as Attorney General                          )
Of the United States,                                          )
                                                               )
         Defendants,                                           )
                                                               )
         And                                                   )
                                                               )
JAMES DUBOIS, et al.,                                          )
                                                               )
         Defendant-Interveners.                                )
                                                               )
---------------------------------------------------------------)




         REBUTTAL DECLARATION OF THEODORE S. ARRINGTON, PH.D.
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1.     The purpose of this declaration is to rebut the claims of Dr. M.V. Hood III, expert witness

for South Carolina, in his declaration and supplemental declaration. My analysis will include the

manuscript he wrote with Charles S. Bullock, III, titled “An Empirical Assessment of the Geor-

gia Voter Identification Statute” which has been revised and resubmitted to State Politics and

Policy Quarterly, and is dated March 2012. He relies on data and conclusions from this manu-

script in his initial and supplemental declarations.


2.     Dr. Charles Stewart’s initial and rebuttal declarations demonstrate that Minority voters

are more likely than White1 voters to lack one of the kinds of photo ID that are required to vote

under the proposed photo ID law (Act R54). These data alone show that the photo ID law places

a disproportionate burden on the ability of Minorities to vote. Dr. Stewart’s initial declaration,

his rebuttal declaration, and my initial and supplemental declarations show that the dispropor-

tionate burden on Minority voters is actually greater than is indicated by the difference between

the proportion of Minorities and the proportion of Whites who lack the required photo ID, be-

cause Minority voters in South Carolina have, on average, lower socio-economic status (SES). In

this rebuttal declaration, I will address Dr. Hood’s conclusion: “I have no reason to suspect that

full implementation of Act R54 will produce any disparate effect on the ability of minority regis-

trants within South Carolina to fully participate in the electoral process” (Hood supplemental

declaration, p. 15. See also a similar conclusion in Dr. Hood’s initial declaration, p. 19).




1 I will use the simple term “White” to refer to non-Hispanic Whites, who are often called “An-

glos” in the west. I believe that both Georgia and South Carolina use the term White in their reg-
istration data to describe this demographic category. “Minorities” means all voters who are not
White.



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3.     First, I will present statistical evidence that Minority voters who lack a South Carolina

DMV-issued ID, military ID, or U.S. passport tend live in places where family incomes are low

and poverty is common, while White voters who lack such ID are more likely to live in areas

where incomes are much higher and poverty is rare. Dr. Stewart and I opine that those with low-

er SES will be more burdened by the requirement to obtain a photo ID based on established so-

cial science findings about the effects of low SES on political participation. Even the manuscript

by Drs. Hood and Bullock (p. 22) shows the relationship between SES and the burden on voters

who lack a photo ID in Georgia as is discussed below. Second, I will show that Dr. Hood’s anal-

ysis of the effects of the photo ID law in Georgia are seriously flawed as they apply to an as-

sessment of the racial impact of the photo ID law there and its application to the potential impact

of the South Carolina version of the law.


Geographic Distribution of Non-Matches by Race


4.     Dr. Stewart’s initial and rebuttal declarations present data demonstrating that Minority

voters who lack the required photo ID are more likely to have lower socio-economic status than

the White voters who lack the required ID using county-level data (Stewart’s initial declaration,

paragraphs 121-138). I present data below at the level of municipalities, small towns, and unin-

corporated places in South Carolina. These data rebut Dr. Hood’s conclusion about the effect of

the law and provide further support for Dr. Stewart’s opinions by providing statistical data at a

more basic geographic level.


5.     This new analysis requires the merging of two kinds of data. First, is a list of all of the

registered voters who lack a South Carolina DMV-issued ID, military ID or U.S. passport from

Dr. Stewart (his revised non-match list, as presented in Tables 10 and 11 of his rebuttal declara-


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tion). This list includes the race/ethnicity and the mailing address of each voter who lacks an ac-

ceptable ID. Second, is the American Community Survey (ACS) of the U.S. Census Bureau.

ACS data were obtained from the five-year dataset (2006-10). The five-year dataset provides in-

formation on the smallest areas possible for the ACS methodology (in terms of population).

Where the number of people in a particular category in a particular place is small enough to po-

tentially identify specific people, ACS data is suppressed to protect confidentiality. In addition,

in very underpopulated places the number of households that are included in the sample is too

small to yield reliable data, and therefore the ACS reports no data for such places. The ACS data

pertains to the population within a place’s boundaries, but many of the people on the non-match

list do not live within the places for which we have ACS data. They may be connected to the

place as indicated in their address. Thus they probably work there, go to school there, shop there,

and so forth. But their socio-economic characteristics were not counted in the ACS place data.


6.     Dr. Stewart’s revised non-match list contains 134,508 registered voters who do not have

any of the photo IDs required to vote under Act R54. Of these, it was possible to automatically

geocode the registration addresses of 93.1% (or 125,224) from the non-match list.2 “Geocode”

simply means to identify the exact location of each residence to determine whether each non-

matched voter lives within the boundaries of any of the 395 places identified by the U.S. Census

in South Carolina. Out of those non-matched voters who could be geocoded, a total of 62,495 of

them have addresses within the boundaries of 316 different census-recognized places out of the

total 395 places. The relevant ACS data is, however, only available for 281 places. As a result,

ACS data is available for 56,842 registered voters on the non-match list who reside in these 281



2 Approximately 6.9% of the addresses could not be geocoded because, for example, they were

incomplete or were for a post office box.


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places. The places with reported ACS data tend to be the more populated places in the state. The

rest of the non-matched voters live in rural areas for which there is no ACS data. The analysis

that follows is based on SES data from the 281 ACS communities.


7.     This combined dataset (combining the non-match list with ACS data) provides a repre-

sentative picture of the relation of SES to the race and ethnicity of the voters who lack the re-

quired ID under Act R54. Table 1 compares the racial/ethnic breakdown of these 56,842 non-

matched voters with the total non-matches in Dr. Stewart’s revised list. The distribution is very

similar. The racial makeup of the non-matches in the 281 ACS communities is roughly the same

as the racial makeup of the non-matches in the entire State. The analysis of these data is a sup-

plement to the county-level data from Dr. Stewart’s initial declaration. His analysis included all

of the non-matched voters, because the ACS presents data for all whole counties in South Caro-

lina, including urban and rural populations. The robustness of the data presented here is further

confirmed by the fact that both Dr. Stewart’s county-level analysis and the analysis presented

below show the same relationship between race/ethnicity and SES.


8.     There are four variables in the ACS that measure levels of socio-economic status that can

be meaningfully related to the proportion of non-matches that are White and Black. The Pear-

son’s correlation3 between these four variables and the percentage of White non-matches and the



3 The Pearson’s correlation is simply a measure of the strength and nature of the relationship be-

tween two variables. It can vary from -1.0 (a perfect negative relationship) to +1.0 (a perfect pos-
itive relationship). A relationship of 0.0 would mean that the two variables are not related. If the
relationship were 0.0 this would mean that as one of the variables increases or decreases the oth-
er one does not change with it systematically. A negative relationship would mean that as one
variable increases the other decreases. For example, age among adults is negatively related to
athletic ability. On average, older people cannot run as fast or jump as high as younger people.
On the other hand, a person’s weight is positively related to height. Taller people are, on average,
heavier than short people. These relationships would not be -1.0 or +1.0, because the relation-


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percentage of Black non-matches are presented in Table 2. The Pearson’s correlations for the

Black non-matches are not an exact opposite of Pearson’s correlations for the White non-

matches, because there are also other Minority voters who lack a photo ID, and their SES may

differ slightly from Blacks.


9.      Median household income, and per capita income are both positively correlated with the

percentage of the non-matches that are White and negatively correlated with the percentage of

the non-matches that are Black. The relationships are slightly stronger with percentage Black

than with percentage White. All four of these relationships are statistically significant at the .000

level, indicating that there are less than five chances in 10,000 that this relationship would occur

by chance (Table 2). The higher the percentage of White non-matches there are in a place, the

higher the household and per capita incomes in that place. In other words, White non-matches

tend to live in places with high incomes, and Black and other Minority non-matches are more

likely to live in places with low income.


10.     There are two direct measures of poverty in the ACS survey: percentage of households on

food stamps and percentage of all people living in households below the poverty level. Table 2

shows that both of these measures are negatively related to the percentage of White non-matches

and positively related to the percentage of Black non-matches. Whites who lack the required

photo ID for voting are more likely to live in places where few people need government subsi-

dized food and few people are living below the Census defined poverty line. Black non-matches,

on the other hand, are somewhat more likely to live in places where a larger number of people

are living below the poverty line and depending on the government for food.


ships are not that “strong,” but they would certainly be statistically significant at least at the .05
level usually required in social science to flag a relationship that is worth notice.


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11.    Sometimes a comparison of extreme cases is illustrative. Table 3 compares the median

household income of the 20 places with the highest percentage of Black non-matches to the 20

places with the lowest percentage of Black non-matches after excluding the places with fewer

than 10 non-matches. (These places are selected from the 281 places with data from the ACS.)

The difference in the SES of these two groups of places is stark. The 20 places with the highest

percentages of Black non-matches averages 89.2% Black non-matches and only 9.9% White

non-matches. These areas have very low income levels (they average $28,444 median household

income), and high levels of poverty and dependence on food stamps. The 20 places with the low-

est level of Black non-matches (average 2.6% Black non-matches) and highest levels of White

non-match (average 94.4% White) are high income, low poverty areas. The average median fam-

ily income in these 20 places is $70,108, while only 4.3% are using food stamps and 8.3% live

below the poverty level.


12.    Another way to illustrate the socio-economic relationship to the racial component of the

non-matches is to examine the places along the popular, prosperous beaches where we would

expect to find more individuals who would have little trouble obtaining a South Carolina ID if

they needed one to vote. Some of these places are listed in Table 4. Almost all of them have a

much higher proportion of non-matched voters who are White than the statewide average in the

281 places where we have ACS data (55%). The only exceptions are those places that are more

military or commercial centers than beach and tourist destinations.


13.    A brief look at several representative places may put some “meat” on these statistical

bones. The data come from the sources cited in the tables. Take for example, Denmark, which is

an historic railroad town located in southwest South Carolina at the junction of U.S. Highways



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78 and 321. It is not near the beach, the resorts in the northwest, or any metropolitan area. The

population is about 90% Black. There are 93 Black non-matches and 11 White non-matches in

Denmark (10.6% White non-matches). The median household income is $23,818, while 26.6%

of the population receives food stamps, and 38.4% of the population is living below the poverty

line.


14.     A second example is Lake City, which is in the tobacco growing area in the southeastern

part of the state. There are small lakes for swimming just north of the town. The population is

about 71% Black. It is considered part of the small Florence metropolitan statistical area. There

are 315 Black non-matches and 64 White non-matches in Lake City (16.4% White non-matches).

The median household income is $26,567, while 26.6% of the households receive food stamps,

and 38.4% of the population live below the poverty line.


15.     Lyman, on the other hand, is west of Spartanburg and in that more substantial metropoli-

tan area. Seventy-five percent of the non-matches in Lyman are White: 18 Blacks, 56 Whites out

of a total of 75 non-matches. The population of this suburban town is 3,243 and it has increased

22% since 2000. The median household income is $51,800, and only 3.8% of the population re-

ceives food stamps and 7.4% are poor by the Census standard.


16.     A last example is Lexington, which is west of Columbia near Murray Lake at the dam. In

this town, 79% of the non-matches are White: 111 Blacks and 487 Whites out of a total of 616

non-matches. The population of Lexington in 2010 was 17,850 and its population has exploded

since 2000, increasing by 82.5%. The median household income is $58,800, only 5.2% of the

households are receiving food stamps, and 11.1% of the population is below the poverty line.




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17.    Dr. Hood’s data from Georgia indicate that there is a linkage between lower SES and the

extent to which a photo ID law would significantly burden voters who do not possess one of the

required photo IDs (manuscript, pp.18, 22). These data on non-matches and SES in South Caro-

lina (presented above) are, therefore, relevant rebuttal of Dr. Hood’s suspicion that Minority vot-

ers who lack a required photo ID will be no more burdened by Act R54 than White voters who

lack such an ID. Dr. Stewart’s data show that Minority voters are more likely than White voters

to lack the required ID for voting. These raw differences between the proportion of Whites and

Minorities who lack the required photo ID in South Carolina severely understate the extent to

which the photo ID law has a disproportionate impact on the ability of Minority citizens to vote.

The Minority voters who lack a required photo ID are more likely to be located in isolated, rural

areas with a higher rates of poverty. White voters who lack one of the required photo IDs are

more likely to be found in areas, such as suburban metropolitan regions, with high family in-

comes and greater access to DMV and county EC offices. White voters without one of the re-

quired IDs are also more likely than Blacks without IDs to be found in areas with high concen-

trations of tourists and part-time residences such as along the beach or in the new resort areas in

the higher elevations in the northwest region of the state.


Analysis of the Georgia Data by Dr. Hood
Including the Hood and Bullock Manuscript

18.    I have read both declarations of Dr. Charles Stewart and I agree with his opinions. I will

only add a few points to his analysis that relate to the intent of the proponents of the photo ID

law. Dr. Hood maintains in several places in his declaration that the Georgia photo ID law and

the proposed South Carolina law are “more similar than different” (e.g., initial declaration p.5).

But these differences are critical (see Table 13 in Dr. Stewart’s rebuttal declaration). The South




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Carolina photo ID law provides a very narrow selection of ID that is acceptable for voting.

Georgia, on the other hand, has a wide variety of photo ID that can be used for voting, including

employee ID from all levels of government and student ID. Both of these forms of ID were sug-

gested as amendments to the photo ID bills by Black legislators in the South Carolina General

Assembly and rejected by the proponents of the photo ID law in both houses. Student ID from 62

Georgia colleges and universities are valid for voting in that state. Some of these institutions are

historically Black, as are some colleges and universities in South Carolina. The Georgia law also

allows Federal government photo ID, Native American Indian Tribal ID with photo, and even

photo IDs issued by any other state. The Georgia law does not require that Georgia driver’s li-

censes be current, that is, not expired. As Dr. Stewart’s analysis shows, the number of registered

voters without a photo ID to vote in South Carolina is much smaller if expired DMV-issued ID

could be used to vote.


19.    In his rebuttal declaration, Dr. Stewart also demonstrates that the inclusion of military ID

and U.S. passports to the list of acceptable ID for voting actually increases the disparity between

proportion of Minority and White voters who lack an acceptable ID for voting. The proponents

of the photo ID law in South Carolina were more interested in restricting the kinds of ID that

could be used for voting than in replicating the Georgia law, even though they claimed it as a

model. And they were unconcerned about the disparate effect the provisions of the South Caroli-

na photo ID law, which differ from those of Georgia, might have on Minority voters.


20.    The literature review in the manuscript written by Drs. Hood and Bullock demonstrates

that many scholarly, empirical, refereed studies have shown that any barrier to registration and

voting will suppress turnout, especially among Minorities, that Minority voters are more likely to



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lack a photo ID, and that Minority voters are more likely to be asked for ID when they go to vote

even in states where less specific ID is required (manuscript, pp. 1-4). But the authors cite mixed

results in research that asks specifically whether turnout declines as ID becomes more restrictive,

and whether it affects Minority voters to a greater extent than White voters (manuscript pp. 4-5).

The authors write that individual level data in a natural experiment provides better evidence than

either survey data or aggregate data on geographic units to answer these latter questions (p. 6).

While they may have collected the Georgia data that would be somewhat relevant to the analysis

of the South Carolina photo ID law, they have not presented those data in either Dr. Hood’s dec-

larations or in the manuscript.


21.    Drs. Hood and Bullock present actual percentages showing the effect of the photo ID law

in Georgia, but without the critical racial breakdown that we need to determine the actual effect

of the law on Minorities and Whites without controls that hide the actual effect. Their total regis-

tration figures for Georgia from the manuscript as shown in Table 5, do not agree with the total

registration figures from the Georgia Secretary of State’s website given in Table 6. The turnout

figures for all voters from the manuscript, however, are close to the numbers given by the Geor-

gia Secretary of State. The authors provide no explanation for why the registration figures in the

manuscript should not agree with the figures presented by the Georgia Secretary of State.


22.    Voter turnout, especially among Blacks in 2008 was higher than in 2004 in South Caroli-

na. Table 7 shows the turnout in 2004 and 2008 in South Carolina broken down by race/ethnicity

to match the Georgia Secretary of State’s data in Table 6. These data show that both White and

non-White voter turnout was higher in 2008 than in 2004 in South Carolina. But the major dif-

ference was in the non-White category. White turnout in South Carolina was only 3.0 percentage



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points higher, while non-White turnout was 10.4 percentage points higher. This pattern was re-

peated in most states as Minority voters responded to the first Black person nominated for the

Presidency by a major party (see Stewart rebuttal declaration ¶¶119-124). Black legislators in the

South Carolina General Assembly often referred to the large Minority voter turnout in 2008 and

the desire on the part of the proponents of the photo ID law to suppress that turnout in the future

as a major impetus for the enactment of a photo ID law. Indeed, the photo ID law in Georgia

seems to have held down that explosive growth in Minority turnout in that state.


23.    In my initial declaration I opined that individuals without a photo ID are qualitatively dif-

ferent than those of us who use photo ID on a regular basis. I explained that they are part of an

“other world.” Drs. Hood and Bullock confirm this idea as being a “known fact.” They write:

“The combinations of these calculations takes into account the known fact that those without

identification are already less prone to participate compared to those who possess photo identifi-

cation” (manuscript p. 18).


24.    Older registrants, who lack a photo ID, were more likely to be affected by the photo ID

law in Georgia than younger voters even with controls for SES (manuscript, p. 22). This finding

confirms the concerns of Black legislators in the South Carolina General Assembly and the

American Association of Retired Persons that the proposed photo ID law would present a hard-

ship on the elderly.


25.    The manuscript also confirms the lack of impersonation fraud in Georgia as in South

Carolina and the much more serious concern about absentee voter fraud which the South Caroli-

na proposed photo ID law does not address: “It is unclear, however, just how much voter fraud,

much less the in-person variety, has been committed in Georgia lately. . . the small body of


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scholarly research conducted on vote fraud indicates that mail absentee balloting is more suscep-

tible to fraud than in-person voting methods” (manuscript pp. 22-23).


Conclusions


26.     In this rebuttal declaration I have shown that, contrary to Dr. Hood’s declarations, Minor-

ity voters who lack a photo ID are more likely to be burdened by a photo ID law in South Caroli-

na than similarly situated Whites. I have shown this by a qualitative analysis of where Minority

voters who lack a photo ID in South Carolina live. This geographic analysis shows that the Mi-

norities who lack such a photo ID are more likely to live in places with lower SES. As Dr. Hood

admits, the photo ID law in Georgia disproportionately affected those with lower SES (manu-

script, p. 22).


27.     I have also pointed out that the manuscript written by Drs. Hood and Bullock on the pho-

to ID law in Georgia does not present appropriate data to determine whether the Georgia law

disproportionately burdened the ability of Black registered voters who lack a photo ID more than

Whites who lack such documentation in that state. The differences between the Georgia photo ID

law and the proposed South Carolina photo ID law suggests the latter would impose even more

of a burden on voters who lack a photo ID for voting, and even more of a disproportionate bur-

den on Minority voters.




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                                            Table 1
   Comparison of the Racial/Ethnic Makeup of the Non-Matched Voters Contained in the 281
           ACS Places with the Total Revised Non-Match List of Dr. Charles Stewart

  Racial/Ethnic Category      281 ACS Places       Total Stewart Revised Data
Whites                             48.8%                      51.9%
Blacks                              48.2                       45.3
Asians                               0.4                        0.3
Hispanics                           1.3                        1.3
Mixed                               0.0*                       0.0*
Native American Indians             0.3                        0.3
Others                               1.0                        0.8
Unknown                             0.0*                       0.0*
Total                             100.0%                    99.9%**
Number of Non-Matches            (56,842)                   (134,508)


*Less than 0.05%
**Does not total to 100.0% because of rounding.
Source: Rebuttal Declaration of Dr. Charles Stewart, Table 11, p. 33; and data compiled by the
author from the ACS Five-year compilation (2006-2010) combined with Dr. Stewart’s data.




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                                               Table 2
           Pearson Correlations Between the Percent White Non-Matches and Percent
     Black Non-Matches with Measures of Socio-Economic Status In South Carolina Places

    Measure of Socio-Economic Status              Pearson’s
                                                 Correlation1
Relationship to Percent White Non-Match
Median household income                                 .419
Per capita income                                       .405
Percent of households on food stamps                   -.459
Percent of all people who are poor                     -.460

Relationship to Percent Black Non-Match
Median household income                                -.429
Per capita income                                      -.410
Percent of households on food stamps                    .471
Percent of all people who are poor                      .470


1. All of these Pearson’s Correlations are statistically significant at least at the .0005 level, mean-
ing that a relationship that strong could occur by chance less than five times in 10,000.
Sources: Non-Match data from Dr. Charles Stewart, derived from data provided by South Caro-
lina State Election Commission, South Carolina Department of Motor Vehicles, U.S. Department
of Defense, U.S. State Department; and Socio-Economic Status data from U.S. Census American
Community Survey five-year compilation (2006-2010).




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                                                    Table 3
                         Comparison of the 20 Places with the Highest and 20 Places with
                        the Lowest Percentage of Black Non-Matches to Measures of SES
                                 (Places with more than 10 Non-Matches Only)
Place           Median HH       Per capita       Percent on       Percent in       Percent Non-   Percent Non-
Name            Income          Income           Food Stamps      Poverty          Match Black    Match White
Carlisle           24,844           16,435            6.4              18.4            100.0           0.0
Gifford             24,271           13,233           19.8             18.7            100.0           0.0
Eastover           17,442           11,099            33.6             38.9             94.4           0.0
Gadsden             28,359           14,431           31.1             24.7             94.2           5.8
Mayesville          28,750           18,680           17.6             18.5             92.3           5.8
Timmonsville        19,886           11,158           36.9             47.4             91.7           7.9
Hopkins             44,359           19,674           10.5             20.0             91.6           7.5
Sellers            19,167           12,558            48.4             37.0             90.3           9.7
Denmark             23,818           11,181           26.6             38.4             89.4          10.6
Estill             31,537            14,811           30.5             32.7             89.3          10.1
Hollywood           47,472           26,228           22.3             18.2             88.4           9.6
Bowman              27,813           13,249           24.0             38.0             88.0          10.8
Orangeburg          31,320           16,475           17.2             28.8             86.2          12.2
Bradley             55,192           24,397            0.0             12.7             85.7          14.3
Clarks Hill        33,482            16,236           20.7             26.2             85.0          15.0
Summerton           29,250           16,215           27.3             23.5             84.4          15.6
Greeleyville        17,019           12,210           27.5             35.2             83.9          16.1
Allendale           17,632           9,506            37.8             51.8             83.4           15.3
Ridgeville          32,083           6,759            23.0             20.8             83.3           16.7
Fairfax            15,184            11,788           35.5             50.6             82.9          15.2
AVERAGES           $28,444          $14,816          24.8%            30.0%           89.2%           9.9%

McClellanville     56,563           41,469             1.5             9.8             8.3              91.7
Pelion             56,000           21,951             1.1             8.7             6.7              86.7
Hilton Head Is     67,629           45,195             3.2             8.9             5.3              84.2
Pine Ridge         53,958           27,191             8.5             5.0             5.3              89.5
Arcadia Lakes     101,750           51,908             1.0             5.6             5.3              94.7
Tega Cay          103,750           38,313             1.8             2.2             5.1              93.9
Chapin             43,110           26,060             0.0             4.4             4.9              93.4
Walhalla           37,214           21,987            20.6            15.7             4.7              87.9
Elgin (town)       60,444           22,544             2.3             5.4             3.1              96.9
Elgin (CDP)        34,890           18,532             9.8            14.4             3.1              96.9
Gilbert            48,000           19,590             2.2            10.5             0.0              83.3
Kiawah Island     173,636          122,827             0.0             7.4             0.0              92.9
Garden City        35,879           29,238             3.5            10.5             0.0              97.7
Isle of Palms      86,477           62,290             0.9             8.2             0.0              98.2
Briarcliffe Acr   108,125           66,735             0.0             4.2             0.0             100.0
Folly Beach        57,734           42,481             0.0             8.8             0.0             100.0
Modoc              98,021           78,384             5.9             6.3             0.0             100.0
Seabrook Isle      96,667           77,162             0.7             2.6             0.0             100.0
Sharon             35,375           14,896            19.8            17.0             0.0             100.0
Six Mile           46,944           25,934             3.0             9.7             0.0             100.0
AVERAGES          $70,108          $42,734           4.3%             8.3%            2.6%            94.4%
Sources: Non-Match data from Dr. Charles Stewart, derived from data provided by South Carolina State Election
Commission, South Carolina Department of Motor Vehicles, U.S. Department of Defense, U.S. State Department;
and Socio-Economic Status data from U.S. Census American Community Survey five-year compilation (2006-
2010).



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                                            Table 4
                       Percent of the Non-matches that are White Voters
                                In the Beach and Island Places
                         Included in the American Community Survey
                         (Only Places With At Least One Non-Match)

  Name of the Place         Percent of the Non-Matches
                                    that are White
Surfside Beach                          100%
Folly Beach                              100
Seabrook Island                          100
Pawley’s Island                          100
Briarcliffe Acres                        100
Rockville                                100
Isle of Palms                             99
Garden City                               98
Kiawah Island                             93
McClellanville                            92
Murrell’s Inlet                           89
Mount Pleasant                            88
Little River                              88
North Myrtle Beach                        86
Hilton Head                               84
Myrtle Beach                              82
Meggett                                   70
Port Royal1                               64
            2
Charleston                                54
         3
Beaufort                                  52
Georgetown4                               26
           5
Awendaw                                   17
STATEWIDE ACS                             55
    1. Port Royal is adjacent to the Parris Island Marine base and has a Naval Hospital, not
        mostly a beach community
    2. Charleston is a Major metropolitan urban area and port city
    3. Beaufort is also a port city with commercial areas, not mostly a beach resort
    4. Georgetown is the second largest seaport in South Carolina, not mostly a beach resort
    5. Awendaw is a small fishing village


Sources: Non-Match data from Dr. Charles Stewart, derived from data provided by South Caro-
lina State Election Commission, South Carolina Department of Motor Vehicles, U.S. Department
of Defense, U.S. State Department; and Socio-Economic Status data from U.S. Census American
Community Survey five-year compilation (2006-2010).




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                                             Table 5
       Voter Turnout as a Percentage of Voter Registration in Georgia in 2004 and 2008
            General Elections by Availability of DMV-Issued Identification in 2007
                            2004 Election                               2008 Election
                 No ID            ID        All Voters       No ID           ID          All Voters
 %Voted            47.6          72.9          71.3           39.6          70.0            68.5
% No Vote         52.4           27.1          28.7           60.4         30.0*            31.5
Total             100.0         100.0         100.0          100.0         100.4           100.0
N=             (289,039) (4,305,213) (4,594,252) (273,547) (5,460,109) (5,733,656)
*These are the figures as presented in the manuscript; there is a typographical error in the table
showing this figure as 30.4%.
Source: Hood and Bullock Manuscript, Table 1, cited at p. 15, appears on p. 27.


                                           Table 6
                    Voter Turnout in Georgia as a Percentage of Registration
                     In 2004 and 2008 General Elections by Race/Ethnicity

                            2004 Election                          2008 Election
                  Whites         Non-           All        Whites      Non-       All
                                Whites        Voters                  Whites     Voters
    Voted          80.4          70.6          77.3         77.4       72.8       75.7
Did Not Vote       19.6          29.4           22.7        22.6       27.2       24.3
     Total        100.0         100.0          100.0       100.0      100.0      100.0
      N=       (2,917,322) (1,331,515) (4,248,837) (3,258,454) (1,940,517) (5,198,971)
Source: Georgia Secretary of State
http://www.sos.ga.gov/elections/voter_registration/Turnout_by_demographics.htm



                                           Table 7
          Voter Turnout in South Carolina as a Percentage of Total Voter Registration
                    In 2004 and 2008 General Elections by Race/Ethnicity

                              2004 Election                    2008 Election
                    Whites         Non-       All     Whites       Non-       All
                                  Whites    Voters                Whites     Voters
     Voted            72.3         65.8      70.4       75.3       76.2       75.6
 Did Not Vote         27.7         34.2      29.6       24.7       23.8       24.4
      Total          100.0         100.0    100.0      100.0      100.0      100.0
       N=         (1,655,816) (659,366) (2,315,182) (1,778,547) (773,925) (2,552,472)
Source: South Carolina State Election Commission
http://www.state.sc.us/scsec/election.html




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